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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    CINEWORLD GROUP PLC, et al.,1                                   )   Case No. 22-90168 (MI)
                                                                    )
                                      Debtors.                      )   (Jointly Administered)
                                                                    )
                                                                    )   Re: Docket No. 1982

                       NOTICE OF (I) ENTRY OF AN ORDER
               APPROVING THE DEBTORS’ DISCLOSURE STATEMENT
             AND CONFIRMING THE THIRD AMENDED JOINT CHAPTER 11
            PLAN OF REORGANIZATION OF CINEWORLD GROUP PLC AND
       ITS DEBTOR SUBSIDIARIES AND (II) OCCURRENCE OF EFFECTIVE DATE

       On June 28, 2023, the Honorable Marvin Isgur, United States Bankruptcy Judge for the
United States Bankruptcy Court for the Southern District of Texas (the “Court”), entered the Order
Approving the Debtors’ Disclosure Statement and Confirming the Third Amended Joint
Chapter 11 Plan of Reorganization of Cineworld Group plc and Its Debtor Subsidiaries
[Docket No. 1982] (the “Confirmation Order”) confirming the Plan2 and approving the Disclosure
Statement of the above-captioned debtors and debtors in possession (collectively, the “Debtors”).

             The Effective Date of the Plan occurred on July 31, 2023.

        The Confirmation Order, the Plan, and copies of all documents Filed in these Chapter 11
Cases are available free of charge by visiting https://cases.ra.kroll.com/cineworld or by calling the
Debtors’ restructuring hotline at (844) 648-5574 (Toll Free) or (845) 295-5705 (International).
You may also obtain copies of any pleadings Filed in these Chapter 11 Cases for a fee via PACER
at: https://ecf.txsb.uscourts.gov.

       The Court has approved certain discharge, release, exculpation, injunction, and related
provisions in Article IX of the Plan.



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld Group plc’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor Vantage
      London, Great West Road, Brentford, England, TW8 9AG, United Kingdom.

2     Capitalized terms not otherwise defined herein have the meanings ascribed to such terms in the Debtors’ Third
      Amended Joint Chapter 11 Plan of Reorganization of Cineworld Group plc and Its Debtor Subsidiaries
      [Docket No. 1943] (as may be amended, supplemented, or otherwise modified from time to time, and including
      all exhibits thereto, the “Plan”) or the Confirmation Order, as applicable.
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            The Plan and its provisions are binding on the Debtors, the Reorganized Debtors, the
    Disbursing Agents, and any Holder of a Claim or an Interest and such Holder’s respective
    successors and assigns, whether or not the Claim or the Interest of such Holder is Impaired under
    the Plan, and whether or not such Holder voted to accept the Plan.

           The Plan and the Confirmation Order contain other provisions that may affect your rights.
    You are encouraged to review the Plan and the Confirmation Order in their entirety.


Houston, Texas
Dated: July 31, 2023

/s/ Matthew D. Cavenaugh
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                   IF YOU HAVE ANY QUESTIONS ABOUT THIS
     NOTICE, PLEASE CONTACT KROLL RESTRUCTURING ADMINISTRATION LLC
      BY CALLING (844) 648-5574 (TOLL FREE) or (845) 295-5705 (INTERNATIONAL)
